COMMONWEALTH OF VIRGINIA
COUNTY OF FAIRFAX, to wit:

I, John T. Frey, Clerk of the Circuit Court of Fairfax County, Virginia, the same being a Court of Probate and of Record and having a
seal, do hereby certify that the foregoing and hereunto annexed paper is a true and complete copy of:

Abstract of Judgment rendered in the FAIRFAX CIRCUIT COURT on the 11/20/2015, in the case of NATIONAL GREEN
GAS LLC versus ESTRATEGY INC and ONE SALUTE. Now on file and of record in Judgment book 235 at page 1354 in
my office.

IN TESTIMONY WHEREOF [| have hereunto set my hand and affixed the seal of the said Court hereto, at Fairfax, Virginia this:

27TH DAY OF SEPTEMBER, 2016 L / 7 Zz
a 4 ae
Jf Clerk’s Senature

COMMONWEALTH OF VIRGINIA
COUNTY OF FAIRFAX, to wit:

I, Robert J. Smith, Judge of the Circuit Court of Fairfax County, Virginia, the same being a Court of Probate and of Record, do hereby
certify that John T. Frey, whose genuine signature appears signed to the foregoing and hereunto annexed certificate and thereon written, was,
at the date thereof, and is now, the Clerk of said Court, duly elected, qualified and authorized under the laws of said State to give the same,
and all his official acts as such Clerk are entitled to full, faith and credit; and that the said certificate is in due form of Jaw and by the proper
officer, I further certify that I am well acquainted with the handwriting of said John T. Frey, Clerk as aforesaid, and that his said signature to
the foregoing and hereunto annexed certificate is his usual and ine signature,

Lotus Duh

Judge’s Signatfy

  
 

COMMONWEALTH OF VIRGINIA
COUNTY OF FAIRFAX, to wit:

I, John T. Frey, Clerk of the Circuit Court of Fairfax County, Virginia, the same being a Court of Probate and of Record and having a
Seal, do hereby certify that the Honorable Robert J. Smith, whose genuine signature appears signed to the foregoing certificate and thereon
written, was at the date thereof, and is now, the Judge of said Court and County, duly elected, qualified and authorized under the laws of the
State of Virginia to give the same, and that all of his official acts as such Judge are entitled to full faith and credit.

I further certify that I am well acquainted with the handwriting of the said, Robert J. Smith, Judge, as aforesaid, and that the signature

to the said Certificate is his usual and genuine signature.

IN TESTIMONY WHEREOF | have hereunto set my hand and affixed the seal of the said Court hereto, at Fairfax, Virginia this:

277H DAY OF SEPTEMBER, 2016 LL L he

Clerk’ ¢Signature

 

Case 4:18-cv-00285-BCW Document 1-1 Filed 04/13/18 Page 1 of 2
Judgments Page 1 of 4

Abstract of Judgment Case No.: CL20150011250

Fairfax Circuit Court Judgment No.: 568825

FAIRFAX CIRCUIT COURT

Where Rendered

 

 

NATIONAL GREEN GAS LLC Yes YS ESTRATEGY INC Yes
Plaintiff Name Firm Defendant Name Firm
SSNAD DOB

1600 SWIFT AVENUE SUITE 100 NORTH KANSAS
CITY MISSOURI 64116

 

 

Address

ONE SALUTE Yes
Defendant Name Firm
SSNAD DOB

1600 SWIFT AVENUE SUITE 100 NORTH KANSAS
CITY MISSOURI 64116

 

 

 

Address
11/20/2015 12/07/2015 09:31:03 AM GELBER & ASSOC PLLC
Date of Judgment Docket Date/Time Plaintiff Attorney Name

 

Defendant Attorney Name

AMOUNT OF 453,349.25, ALL COSTS OF THIS ACTION AND INTEREST AT 6% FROM 07/01/2014

Judgment Description

 

 

Executions |
Date Entered Nature Directed Date Served Date Returned Return Nature Costs
08/01/2016 FIFA90 FAIRFAX COUNTY 10/30/2016 $83.50
08/23/2016 FIFA90 FAIRFAX COUNTY 11/21/2016 $63.50
Updates |
None

| certify that above to be a true abstract of a judgment docketed in this court.

- f a
Deputy Clerk: Dan bhtty2 VU: C-

 

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Judgments 9/27/2016
